              Case: 1:18-cv-06785 Document #: 469 Filed: 09/02/21 Page 1 of 2 PageID #:4995

                          United States District Court Northern District of Illinois
                          MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                                                                          Plantiff(s)
                       In Re: Local TV Advertising Antitrust Litigation
                                                                            VS.

                                                                                                                     Defendant(s)


Case Number:           1:18-cv-06785                              Judge: Hon. Virginia M. Kendall


I,    Anne K. Davis                                                                                         hereby apply to the Court

under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of
        One Source Heating & Cooling, LLC;
        Thoughtworx, Inc. d/b/a MCM Services Group                                                 by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                                Title of Court                                                          Date Admitted
                                   Central District of California                                                           2014
                                 Northern District of California                                                            2010
                                  Eastern District of California                                                            2011
                                   Eastern District of Michigan                                                             2019

I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                                            Date of Application
     Case Number                                            Case Title                                      (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
Pursuant to Local Rule 83.15(a), applicants who do not have an office within the Northern District of Illinois must designate, at the
time of filing their initial notice or pleading, a member of the bar of this Court having an office within this District upon who service of
papers may be made.

                                   Has the applicant designated local counsel?        Yes    X              No

If you have not designated local counsel, Local Rule 83.15(b) provides that the designation must be made within thirty (30) days.
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